Case 1:20-cv-10832-AT-SN Document 821 Filed 05/19/23 Page 1of1

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May 19, 2023

VIA ECF

Hon. Analisa Torres

United States District Court
Southern District of New York
500 Pearl Street

New York, NY 10007

SEC v. Ripple Labs Inc., et al., No. 20-cv-10832-AT-SN (S.D.N.Y.)

Dear Judge Torres:

Plaintiff Securities and Exchange Commission and Defendants Ripple
Labs Inc., Bradley Garlinghouse, and Christian A. Larsen (collectively, the “Parties”’)
jointly request that the Court order the Parties to file on June 13, 2023 public,
redacted versions of their cross-motions for summary judgment and accompanying
exhibits consistent with the Court’s May 16, 2023 sealing ruling. See ECF No. 819.
Although the Parties had previously requested, and the Court had ordered, that
public, redacted versions of the materials be filed 21 days after the Court’s sealing
tuling, see Sept. 12, 2022 Order (ECF No. 620), which is June 6, 2023, the Parties
now jointly request a one-week extension of that deadline in light of the voluminous
nature of the materials and redactions. This is the first request to extend this
deadline. The Parties further note that the Court approved a similar timeline for the
filing of public, redacted versions of the Daubert motions, which were significantly
less voluminous. See Dec. 21, 2022 Order (ECF No. 743) (approving three-and-a-
half week timeline).

Respectfully submitted,

/s/ Ladan F. Stewart
Ladan F. Stewart
U.S. Securities and Exchange Commission

 

GRANTED.
SO ORDERED. Co -
Dated: May 19, 2023 ANALISA TORRES

New York, New York United States District Judge
